Case 6:21-cv-00975-PGB-DCI Document 270 Filed 04/12/22 Page 1 of 13 PageID 7647




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION


  LUCAS WALL,

                  Plaintiff,

          v.                             Case No. 6:21-cv-975-PGB-DCI

  CENTERS FOR DISEASE
  CONTROL AND PREVENTION,
  et al.,

                  Defendants.


               FEDERAL DEFENDANTS’ REPLY IN SUPPORT OF
                CROSS-MOTION FOR SUMMARY JUDGMENT
Case 6:21-cv-00975-PGB-DCI Document 270 Filed 04/12/22 Page 2 of 13 PageID 7648




                                         TABLE OF CONTENTS

 I.      The Transportation Mask Order is authorized by the Public Health
         Service Act (PHSA). .................................................................................... 1

 II.     The Transportation Mask Order is not arbitrary and capricious. .................... 4

 III.    The CDC had good cause to issue the Transportation Mask Order
         without notice and comment. ....................................................................... 5

 IV.     The Transportation Mask Order does not violate the Constitution. ................ 5

 V.      Plaintiff’s claims regarding the International Traveler Testing Order are
         also meritless. .............................................................................................. 7

 CONCLUSION .................................................................................................... 7




                                                           i
Case 6:21-cv-00975-PGB-DCI Document 270 Filed 04/12/22 Page 3 of 13 PageID 7649




                                       TABLE OF AUTHORITIES

 Cases

 Alabama Association of Realtors v. HHS,
   141 S. Ct. 2485 (2021) ........................................................................................ 3

 Biden v. Missouri,
   142 S. Ct. 647 (2022) .......................................................................................... 5

 FCC v. Prometheus Radio Project,
   141 S. Ct. 1150 (2021) ........................................................................................ 4

 Florida v. HHS,
   19 F.4th 1271 (11th Cir. 2021) ........................................................................ 3, 4

 Gilmore v. Gonzales,
   435 F.3d 1125 (9th Cir. 2006) ............................................................................. 6

 Huffman v. Comm’r,
  978 F.2d 1139 (9th Cir. 1992) ............................................................................. 2

 Kelley v. United States,
   69 F.3d 1503 (10th Cir. 1995) ............................................................................. 6

 New York v. United States,
   505 U.S. 144 (1992) ......................................................................................... 5-6

 Solid Waste Agency of Northern Cook County v. U.S. Army Corps of Engineers,
   531 U.S. 159 (2001) ............................................................................................ 4

 Tiger Lily, LLC v. HUD,
   5 F.4th 666 (6th Cir. 2021).................................................................................. 3

 Tiger Lily, LLC v. HUD,
   992 F.3d 518 (6th Cir. 2021) ............................................................................... 3

 Wall v. Southwest Airlines,
  No. 21-cv-1008 (M.D. Fla. Dec. 8, 2021) ............................................................ 5

 Statutes

 42 U.S.C. § 264 ................................................................................................. 1, 3



                                                           ii
Case 6:21-cv-00975-PGB-DCI Document 270 Filed 04/12/22 Page 4 of 13 PageID 7650




 49 U.S.C. § 40103.................................................................................................. 6

 Administrative and Executive Materials

 CDC, Order Under Section 361 of the Public Health Service Act, Requirements for Persons To
  Wear Masks While on Conveyances and at Transportation Hubs,
  86 Fed. Reg 8025 (Feb. 3 2021).................................................................... 3, 4, 5

 CDC, Requirements for Negative Pre-Departure Covid-19 Test Result or Documentation of
  Recovery From Covid-19 for All Airline or Other Aircraft Passengers Arrtiving Into the
  United States From Any Foreign Country,
  86 Fed. Reg 69,256 (Dec. 7, 2021) .................................................................. 3, 7

 Other Authorities

 Sanitary, Merriam-Webster.com Dictionary,
   https://perma.cc/ET57-55XX............................................................................ 2

 Sanitation, Merriam-Webster.com Dictionary,
   https://perma.cc/9ARR-YKYH ........................................................................ 2

 Transp. Sec. Admin., Staying Healthy When Traveling (May 21, 2020),
   https://perma.cc/7AYK-C75G .......................................................................... 2

 WHO, Sanitation,
  https://perma.cc/E4M4-HVDY......................................................................... 2




                                                          iii
Case 6:21-cv-00975-PGB-DCI Document 270 Filed 04/12/22 Page 5 of 13 PageID 7651




        As Federal Defendants explained in their Cross-Motion & Opposition (Defs.’

 Br.), ECF No. 263, Plaintiff Lucas Wall’s claims are meritless—both on the science

 and the law. Plaintiff’s Opposition and Reply (Pl.’s Opp’n), ECF No. 269, does not

 cast doubt on those conclusions. While Plaintiff advances several new arguments, he

 still offers no factual or legal basis for his claims, instead adhering to the unsupported

 position that “masking does not promote hygiene or disease prevention.” Id. at 7.

 I.     The Transportation Mask Order is authorized by the Public Health Service
        Act (PHSA).

        In carrying out and enforcing Congress’s authorization to adopt “such

 regulations as in [its] judgment are necessary to prevent the introduction, transmission,

 or spread of communicable diseases from foreign countries into the States or

 possessions [of the United States], or from one State or possession into any other State

 or possession,” the CDC is authorized to “provide for such inspection, fumigation,

 disinfection, sanitation, pest extermination, destruction of animals or articles found to

 be so infected or contaminated as to be sources of dangerous infection to human

 beings, and other measures, as in [its] judgment may be necessary.” 42 U.S.C.

 § 264(a). The temporary requirement to wear masks on public transportation is a

 conventional “sanitation” measure, and at an absolute minimum qualifies as an “other

 measure[]” akin to the examples enumerated in the statute, including “sanitation.”

 Id.; see Defs.’ Br. at 8-11.1



        1
          Plaintiff appears to have abandoned his non-delegation claims (Counts 4 & 12), failing to
 address them in his Opposition & Reply.
                                                 1
Case 6:21-cv-00975-PGB-DCI Document 270 Filed 04/12/22 Page 6 of 13 PageID 7652




        1. Plaintiff argues that masking is not a “sanitation” measure because it does

 not involve the removal of sewage and trash, or the provision of clean drinking water.

 Pl.’s Opp’n at 7-10. But typically, “[w]ords of both technical and common usage are

 construed in the latter sense unless the statute plainly indicates otherwise.” Huffman

 v. Comm’r, 978 F.2d 1139, 1145 (9th Cir. 1992). Section 264(a) is free of technical

 jargon and speaks in common, readily understandable terms about what powers CDC

 may exercise. In common usage, both now and at the time of § 264(a)’s enactment,

 the term “sanitation” covers far more ground than Plaintiff allows. See Defs.’ Br. at 9-

 10, 9 n.4. For example, a traveler might use “[h]and sanitizer” while waiting for her

 flight to arrive and clean her tray table with “[s]anitizing wipes” before setting a drink

 upon it.     Transp. Sec. Admin., Staying Healthy When Traveling (May 21, 2020),

 https://perma.cc/7AYK-C75G.2

        2. Plaintiff offers no textual basis for his theorized distinction between “liberty

 interests” and “property interests” (Pl.’s Opp’n at 8)—words that appear nowhere in




        2
           Plaintiff provides a contemporary definition from the 2022 version of Merriam-Webster—
 which merely offers parenthetical examples of “sanitation”—and he omits the primary definition of
 “sanitation” offered by his cited source: “the act or process of making sanitary,” Sanitation, Merriam-
 Webster.com Dictionary, https://perma.cc/9ARR-YKYH, with “sanitary,” in turn, meaning “of or
 relating to health,” Sanitary, Merriam-Webster.com Dictionary, https://perma.cc/ET57-55XX.
 Meanwhile, while the 2022 Oxford Dictionary Plaintiff cites, Pl.’s Opp’n at 7-8, provides “the
 provision of clean drinking water and adequate sewage disposal” as examples, it plainly does not offer
 them as limitations on “sanitation.” Plaintiff’s attempt to draw on language from the website for
 CDC’s Global Water, Sanitation, & Hygiene Program, id. at 8-9, fares no better—CDC’s
 characterization of “basic sanitation” in the specific context of a wastewater program in 2021 says
 nothing about Congress’s intended meaning of the word in 1944 in the broader context of overall
 disease control and prevention. Finally, the WHO webpage Plaintiff cites, id. at 9, does not even offer
 a definition of “sanitation.” See WHO, Sanitation, https://perma.cc/E4M4-HVDY.

                                                   2
Case 6:21-cv-00975-PGB-DCI Document 270 Filed 04/12/22 Page 7 of 13 PageID 7653




 the statute.3     Likewise, it is immaterial that 42 U.S.C. § 264(d) places certain

 limitations on the agency’s authority to apprehend, examine, or detain persons

 “reasonably believed to be infected.” Pl.’s Opp’n at 9 (quoting 42 U.S.C. § 264(d)).

 That is not surprising, as such measures are far more intrusive than, for example,

 requiring masks (or proof of a negative COVID-19 test). But the orders challenged

 here do not provide for the apprehension or examination or detention of anyone, so

 those limitations are irrelevant to this case. Indeed, the challenged orders do not rely

 on § 264(d). See 86 Fed. Reg. 8025 (Feb. 3, 2021); 86 Fed. Reg. 69,256 (Dec. 7, 2021).

         3. For the first time, Plaintiff now invokes the so-called “major questions

 doctrine.” Pl.’s Opp’n at 12-13. Even if he had not forfeited the argument, the

 Eleventh Circuit recently rejected application of that doctrine where, as here, the

 statute “plainly encompasses the [agency’s] actions,” so Congress need not have

 provided “an indication that specific activities are permitted.” Florida v. HHS, 19 F.4th

 1271, 1288 (11th Cir. 2021). “To suggest otherwise would mean that Congress had to




         3
             On this point, Plaintiff cites an order from a Sixth Circuit motions panel denying a stay
 pending appeal in a case concerning the CDC’s eviction moratorium. Tiger Lily, LLC v. HUD, 992
 F.3d 518 (6th Cir. 2021). But the Sixth Circuit’s subsequent merits ruling in Tiger Lily did not rely on
 any such distinction between “property interests” and “liberty interests,” see 5 F.4th 666 (6th Cir.
 2021), and, importantly, neither did the Supreme Court’s opinion in Alabama Association of Realtors v.
 HHS, 141 S. Ct. 2485 (2021). In any event, the purported distinction is mistaken. As the statutory
 text makes clear, it is subsection (a) that authorizes CDC to adopt “regulations . . . necessary to prevent
 the . . . spread of communicable diseases,” regardless of whether they restrict either liberty or property,
 42 U.S.C. § 264(a); although subsections (b)–(d) place conditions on that power in the quarantine
 context, those conditions apply only to “regulations prescribed under this section, insofar as they
 provide for the apprehension, detention, examination, or conditional release of individuals,” id.
 § 264(c) (emphasis added), indicating that Congress contemplated that CDC might well prescribe
 other regulations that restrict liberty to which the conditions of subsections (b)–(d) would not apply.
                                                     3
Case 6:21-cv-00975-PGB-DCI Document 270 Filed 04/12/22 Page 8 of 13 PageID 7654




 have anticipated both the unprecedented COVID-19 pandemic and the unprecedented

 politicization of the disease to regulate . . . against it.” Id.4

 II.     The Transportation Mask Order is not arbitrary and capricious.

         Here, where CDC provided a robust explanation, relying on peer-reviewed

 literature that supports the widespread scientific consensus in favor of the efficacy and

 safety of masks, it is clear that “the agency has acted within a zone of reasonableness.”

 FCC v. Prometheus Radio Project, 141 S. Ct. 1150, 1158 (2021).

         1. Plaintiff protests that CDC guidance no longer recommends that persons in

 most U.S. counties wear masks indoors in public, while the CDC still requires that

 masks be worn on public transportation conveyances. See Pl.’s Opp’n at 14. However,

 the agency explained that “[t]raveling on multi-person conveyances increases a

 person’s risk of getting and spreading COVID-19 by bringing persons in close contact

 with others, often for prolonged periods, and exposing them to frequently touched

 surfaces.” 86 Fed. Reg. at 8029.

         2. Plaintiff argues that “CDC failed to consider lesser alternatives,” including

 limiting the mask requirement to only certain types of public transportation. Pl.’s

 Opp’n at 16. But the CDC in fact concluded that “[a]ir travel” and “[t]ravel by bus,

 train, vessel, and other conveyances used for international, interstate, or intrastate




         4
           Plaintiff’s citation to Solid Waste Agency of Northern Cook County v. U.S. Army Corps of Engineers,
 531 U.S. 159 (2001), is inapposite. Federal regulation of public transit is pervasive, and Plaintiff makes
 no assertion that states have traditionally required masks or testing for communicable diseases, so
 there is plainly no “federal encroachment upon a traditional state power” here. Id. at 173.

                                                      4
Case 6:21-cv-00975-PGB-DCI Document 270 Filed 04/12/22 Page 9 of 13 PageID 7655




 transportation pose similar challenges.” 86 Fed. Reg. at 8029.

 III.   The CDC had good cause to issue the Transportation Mask Order without
        notice and comment.

        Plaintiff does not contest that the CDC made a finding of good cause to issue

 the mask order without notice and comment. See Defs.’ Br. at 18. Rather, he asserts

 that there was no good cause because the mask order was issued “10½ months” into

 the pandemic. Pl.’s Opp’n at 19. But that is contrary to Biden v. Missouri, 142 S. Ct.

 647, 654 (2022), in which the Supreme Court rejected a virtually identical argument.

 See Defs.’ Br. at 18. Plaintiff’s attempt to distinguish Biden v. Missouri by asserting that

 the CDC’s explanation here was merely “conclusory,” Pl.’s Opp’n at 19-20, ignores

 the fact that CDC’s finding of good cause was based on “[c]onsidering the public

 health emergency caused by COVID-19,” 86 Fed. Reg. at 8030, which was extensively

 described in the order, see id. at 8028-29.5

 IV.    The Transportation Mask Order does not violate the Constitution.

        1. Plaintiff seems to concede (correctly) that the mask order “does not exceed

 Congress’s authority under the Commerce Clause.” Pl.’s Opp’n at 21. Thus, there

 can be no Tenth Amendment problem. See New York v. United States, 505 U.S. 144,




        5
           In arguing that the harmless-error rule would not apply here, Pl.’s Opp’n at 20-21, Plaintiff
 appears to only identify recent commentary that is not contemporaneous with consideration of the
 mask order in early 2021, see id. In any event, given the COVID-19 pandemic and the “substantial
 scientific evidence showing that masks are very effective in blocking aerosolized particles containing
 the COVID-19 virus,” Order at 9, Wall v. Southwest Airlines, No. 21-cv-1008, ECF No. 153 (M.D. Fla.
 Dec. 8, 2021), Plaintiff cannot demonstrate prejudice from any notice-and-comment error.
                                                   5
Case 6:21-cv-00975-PGB-DCI Document 270 Filed 04/12/22 Page 10 of 13 PageID 7656




  156 (1992) (“If a power is delegated to Congress in the Constitution, the Tenth

  Amendment expressly disclaims any reservation of that power to the States.”).

  Plaintiff’s argument that the mask order intrudes upon “domains of the states,” Pl.’s

  Opp’n at 21-22, is both incorrect, see supra at 4 n.4, and irrelevant, see Kelley v. United

  States, 69 F.3d 1503, 1509 (10th Cir. 1995) (“[E]ven if plaintiffs are correct . . . that

  [the statute] intrudes upon a domain traditionally left to the states, it is constitutional

  as long as it falls within the commerce power.”).6

         2. Plaintiff does not deny that freedom to travel is “subject to reasonable

  government regulation” and that “[m]ere burdens on a person’s ability to travel from

  state to state are not necessarily a violation of their right to travel.” Defs.’ Br. at 20.

  Rather, he asserts that he has been “[b]ann[ed] . . . from flying interstate and

  internationally” by the mask order. Pl.’s Opp’n at 23. But there is no ban. And if

  Plaintiff “medically can’t wear a mask,” id., then the order does not apply to him.7

         3. Regarding his Due Process claim, Plaintiff seems not to dispute that he has

  “no constitutionally protected liberty interest” at stake.                  Defs.’ Br. at 19-20.

  Meanwhile, it is plainly possible to receive a mask exemption, id. at 20, and Plaintiff’s




         6
            Plaintiff appears to have abandoned his “commandeering” argument.
         7
            To the extent that Plaintiff asserts he has a constitutional right to his preferred method of
  travel, Pl.’s Opp’n at 24, “the Constitution does not guarantee the right to travel by any particular
  form of transportation.” Gilmore v. Gonzales, 435 F.3d 1125, 1136 (9th Cir. 2006); see also Order at 4,
  ECF No. 28 (“[F]lying may be Plaintiff’s preferred method of transportation, but it is by no means the
  only reasonable mode of transportation available to him.”). And while Plaintiff asserts “a right to use
  the public airspace” under 49 U.S.C. § 40103, Pl.’s’ Opp’n at 24, as explained above, he is not banned
  from flying. See also Order at 6, ECF No. 255 (“Plaintiff can still fly in compliance with the FTMM,
  or he can apply for an exemption to the FTMM.”).
                                                    6
Case 6:21-cv-00975-PGB-DCI Document 270 Filed 04/12/22 Page 11 of 13 PageID 7657




  claim to “numerous exemption denials,” Pl.’s Opp’n at 23, does not prove that the

  mask-exemption process is “futile.”8

  V.     Plaintiff’s claims regarding the International Traveler Testing Order are also
         meritless.

         Plaintiff barely addresses his claims challenging the testing order, and indeed

  does not address his arbitrary-and-capricious or non-delegation claims at all. But to

  the extent he addresses the testing order, Plaintiff does not deny that a testing

  requirement is an “inspection.” Rather, Plaintiff argues that § 264(a) requires

  “inspection” of “animals or articles,” Pl.’s Opp’n at 25, a reading of the statute that is

  grammatically mistaken, see Defs.’ Br. at 10. Plaintiff also appears to argue that CDC’s

  good-cause statement was inadequate because the Delta and Omicron variants “spread

  rapidly” despite the testing order, Pl.’s Opp’n at 25, but this does not tell us anything

  about how much the virus would have spread absent the testing order, and, in any

  event, the CDC acknowledged that “pre-departure testing does not eliminate all risk,”

  see Defs.’ Br. at 23 n.16 (quoting 86 Fed. Reg. at 69,260).

                                          CONCLUSION

         Federal Defendants’ motion for summary judgment should be granted, and

  Plaintiff’s motion for summary judgment should be denied.




         8
            In very briefly addressing his ACAA claim (Count 8), Plaintiff concedes that “CDC is not an
  air carrier.” Pl.’s Opp’n at 24. This is fatal to his claim, and, in any event, as Federal Defendants
  have previously explained, the CDC mask order plainly does not discriminate against disabled
  individuals. See Defs.’ Br. at 21.
                                                   7
Case 6:21-cv-00975-PGB-DCI Document 270 Filed 04/12/22 Page 12 of 13 PageID 7658




  Dated: April 12, 2022              Respectfully submitted,


                                     BRIAN M. BOYNTON
                                     Principal Deputy Assistant Attorney General

                                     ROGER B. HANDBERG
                                     United States Attorney

                                     ERIC B. BECKENHAUER
                                     Assistant Branch Director

                               By:   /s/ Andrew F. Freidah
                                     MARCIA K. SOWLES
                                       Senior Trial Counsel
                                     STEPHEN M. PEZZI
                                     ANDREW F. FREIDAH
                                     JOHNNY H. WALKER
                                     MICHAEL J. GERARDI
                                       Trial Attorneys
                                     United States Department of Justice
                                     Civil Division
                                     Federal Programs Branch
                                     1100 L Street NW
                                     Washington, DC 20005
                                     Telephone: 202-305-0879
                                     Email: andrew.f.freidah@usdoj.gov

                                     Counsel for the Federal Defendants




                                       8
Case 6:21-cv-00975-PGB-DCI Document 270 Filed 04/12/22 Page 13 of 13 PageID 7659




                            CERTIFICATE OF SERVICE

        I hereby certify that on April 12, 2022, I caused a true and correct copy of the

  as-filed version of this filing to be served on all counsel of record via the CM/ECF

  system. Although Plaintiff is proceeding pro se, he has been authorized by the Court

  to receive Notices of Electronic Filing from the CM/ECF system. ECF No. 14.

  Accordingly, Plaintiff will receive service of this filing through the CM/ECF system.



                                         /s/Andrew F. Freidah
                                         ANDREW F. FREIDAH
                                         Trial Attorney
                                         United States Department of Justice




                                            9
